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                         IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS                            CLMc,   U   D!STRtCT COURT
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                                    AUSTTh DIVISION
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Leila Green Little, etal.,

         Plaintiffs,

                 V.                                    Civil Action No.   1   :22-cv-00424-RP

Liano County,   etal.,


         Defendants.


      PLAINTIFFS' OPPOSED MOTION TO COMPEL DISCOVERY RESPONSES
                                           INTRODUCTION

        Despite agreeing to respond to Plaintiffs' narrow discovery requests, Defendants have

sought to obstruct discovery at every turn. They have produced demonstrably incomplete

responses, removed all metadata and attachments from their emails, and refused to provide data

that would easily disprove their pretextual bases for removing the books identified in Plaintiffs'

Preliminary Injunction Motion from shelves. Although Defendants have engaged in a litany of

discovery misconduct, Plaintiffs are only moving to compel them, at this stage, to produce two

documents: (1) A report reflecting which books were removed from Liano County library

shelves from March 31, 2022 to May 11, 2022; (2) A report reflecting which books remained on

Liano County library shelves as of June 28, 2022, even though they had not been checked out in

the past three years. Defendants have already admitted that these reports are easily accessible but

have refused to produce them because they know that these documents will confirm their

campaign of viewpoint discrimination. Pursuant to Federal Rule of Civil Procedure 37, Plaintiffs

respectfully request that this Court enter an order directing Defendants to produce the requested
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documents within five days of a ruling on this Motion. Plaintiffs also seek all relief to which they

are entitled under Fed. R. Civ. P. 37(a)(5).

                                               BACKGROUND

       Plaintiffs filed a Motion for Expedited Discovery in support of their Motion for

Preliminary Injunction on May 5, 2022. (ECF No. 23.) On June 7, 2022, Defendants withdrew

their Response in Opposition to Plaintiffs' Motion for Expedited Discovery and agreed to

respond to all of Plaintiffs' discovery requests by June 21, 2022. (ECF Nos. 33, 39.)

       On June 22, 2022, Defendants made a production of documents (Dccl. of Sarah Salomon

in Supp. of Pls.' Mot. to Compel Disc. ("Salomon Dccl.") at ¶ 3.) However, Defendants did not

include in their production the list of books that have been removed from shelves from March

31, 2022, to May 11, 2022 (when the discovery motion was filed), even though that list is

responsive to Plaintiffs' Requests for Production   1   and 4 (ECF No. 23-3.) To date, Defendants

have only identified the books that were weeded between January       1,   2021, and March 31, 2022,

though Defendant Milum confirmed during her deposition that she could easily run a report for

books that had been deleted through the present. (Dccl. of Amy Senia in Supp. of Pls.' Mot. for

Prelim. Inj. ("Scnia Dccl."), ECF No. 22-10, Ex. 6; Salomon Dccl., Ex.        1   at 33:23-34:6.)

        Moreover, despite clear instructions in Plaintiffs' Requests for Production to produce

documents "in their native format," Defendants produced all emails as PDFs stripped of any

metadata (ECF No. 23-3; Salomon Dccl. ¶ 5.) Defendants also produced all emails without their

attachments. (Id.) On June 26, 2022, Plaintiffs raised the issue of the missing email attachments

with Defendants, who indicated that they would "research the responses and locate the

attachments that are referenced throughout and produce them shortly thereafter." (Salomon

Dccl., Ex. 2.) Despite numerous follow-up communications from Plaintiffs and efforts to meet




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and confer, Defendants did not produce any emails with their attachments intact until July 27,

2022two days prior to the due date for Plaintiffs'    Reply regarding their Motion for Preliminary

Injunction, and a full month after the depositions of Jerry Don Moss, Amber Milum, and Bonnie

Wallace (Salomon Deci. ¶ 6.)1 But, given Defendants' production of documents in PDF form,

with metadata stripped, Plaintiffs have not been able to confirm whether Defendants have

produced all missing attachments, or just a selected few. (Id.)

        Plaintiffs also subsequently learned that Defendants' email collection and production had

been incomplete. According to former Kingsland head librarian Suzette Baker, she, along with

other library personnel, including Amber Milum, were instructed to create Yahoo accounts from

which to conduct official library business. (Decl. of Suzette Baker in Supp. of Pis.' Reply re.

Mot. for Prelim. Inj. ("Baker Decl.") ¶ 26; Salomon Decl. ¶ 7.) However, it appears Defendants

have not produced all responsive emails from library personnel's Yahoo accounts. (Salomon

Decl. ¶ 7.)

        Defendants have also refused to produce responsive discovery that would challenge their

supposedly "legitimate" bases for weeding the books identified in Plaintiffs Motion for

Preliminary Injunction. (Resp. in Opp'n to Pis.' Mot. for Prelim. Inj., ECF No. 49.) During her

deposition, Defendant Milum explained that, according to the Library System's standard

weeding procedure, a book is weeded if "it's not getting checked out at least within three years."

(Salomon Deci., Ex.   1   at 31:20-32:1.) Defendant Milum further explained that she would be able



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  Although the State's Motion to Intervene in this case has not yet been granted, counsel for
Texas attended each deposition and witnesses stated, on the record, that the State's counsel had
been involved in their preparation for questioning. (Salomon Deci., Exs. 1, at 10:13-22; 3 at
 139:17-24).) Even though Texas is not yet a party to this case, and Defendants are not
represented by the State Attorney General, Defendants' counsel objected on the grounds of
privilege to questions regarding whether any State's counsel had so much as attended their
preparation sessions. (Salomon Deci., Ex. 3 at 11:4-20.)
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to pull a report reflecting which books remain on the library shelves despite not having been

checked out in the past three years. (Id. at 84:12-17.) Plaintiffs requested that report on the

record at Ms. Milum's deposition, and after lodging objections, Defendants agreed to "talk

offline" regarding producing this document (Id at 84: 12-85:17.) A month later, despite

numerous follow-up communications from Plaintiffs and attempts to meet and confer,

Defendants have not produced this report. (Salomon Deci. ¶ 9.)

       Finally, despite the requirements of Federal Rule of Civil Procedure 26 and Local Rule

CV- 16(c), Defendants have rebuffed Plaintiffs' repeated efforts to schedule a Rule 26(f)

conference, claiming that it would be "premature" to do so. (Salomon Deci. ¶ 11.)

                                           ARGUMENT

       As the above recitation of facts reflects, Defendants have sought to obstmct the expedited

discovery they agreed to produce in myriad ways. However, in light of the expedited nature of

Preliminary Injunction proceedings, Plaintiffs are only moving, at this stage, to compel

production of two narrow requests: (1) A report reflecting which books were removed from

shelves from March 31, 2022 to May 11, 2022; and (2) A report reflecting which books remained

on shelves as of June 28, 2022 (the date of Defendant Milum's deposition), that had not been

checked out in three years. As explained in Plaintiffs' initial expedited discovery motion, which

Defendants conceded in full, Plaintiffs have sought narrow discovery into "which library books

Defendants have removed or restricted access to because of their purportedly 'inappropriate'

content and "the criteria Defendants are applying to determine whether a book should be
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removed from library shelves." (ECF No. 23 at 6.) Both reports Plaintiffs seek are directly

probative of those issues and should have been produced.

        This is especially true given that Defendants are now claiming that each book Plaintiffs

have uncovered so far was removed based on standard weeding procedures. (Resp. in Opp'n to

Pis.' Mot. for Prelim. hj., ECF No. 49 at 5-6.) If Defendants had identified the full set of books

they had removed due to concerns about content in response to Plaintiffs' Interrogatories,

Plaintiffs would not have to scour the weeded list for removals that are obviously pretextual.

Reeves v. Sanderson Plumbing Prod., Inc., 530 U.S. 133, 147, 120 S. Ct. 2097, 2109 (2000)

(Defendants are "in the best position to put forth the actual reason for [their] decision[s]."). As it

stands, however, Defendants' insistence on attempting to camouflage their viewpoint

discrimination as standard weeding makes it necessary for Plaintiffs to review the list of

additional books that were removed from shelves between March 31, 2022, to May 11, 2022,

when Plaintiffs issued their expedited discovery requests. And, in light of the fact that Defendant

Milum   statedin sworn testimonythat she was following the "three year rule" in purportedly
weeding the banned books, Defendants are entitled to the second report they requested in order

to test that pretextual assertion. "[O]nce [Defendants'] justification has been eliminated,

discrimination [is] the most likely alternative explanation." Id.

        Nor can Defendants avoid producing these reports by claiming that they do not exist.

Defendant Milum has already testified that the requested information is housed in the Library

System and that she can create these reports. Under Federal Rule of Civil Procedure 34, a party

may request "any designated documents or electronically stored information.       .   .   stored in any

medium from which information can be obtained either directly or, if necessary, after translation

by the responding party into a reasonably usable form." Fed. R. Civ. P. 34(a)(1)(A). If
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Defendants prefer, they can give Plaintiffs direct access to the systems in which the requested

information resides. In the alternative, they can provide the requested reportsa "translation by

the responding party" of this data "into a reasonably usable form." Id

       Defendants appear poised to engage in the same delay and obfuscation tactics when it

comes to standard case discovery. Despite multiple efforts from Plaintiffs, Defendants have

refused to participate in a Rule 26(f) conference, deeming it "premature" in light of Defendants'

pending Motion to Dismiss. (Salomon Dccl. ¶ 11.) Defendants are free to move for a stay of

discovery pending the resolution of their Motion to Dismiss, though "the issuance of a stay is by

no means automatic." US. ex rel. Gonzalez v. Fresenius Med. Care N. Am., 571 F. Supp. 2d 766,

768 (W.D. Tex. 2008). What Defendants cannot do, however, is flout the Federal Rules of Civil

Procedure, the Local Rules, and all efforts by Plaintiffs at good faith meet-and-confer as a

backdoor means of imposing such a stay.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court order Defendants

to produce: (1) A report reflecting which books were removed from shelves from March 31,

2022, to May 11, 2022; (2) A report reflecting which books remained on shelves as of June 28,

2022, even though they had not been checked out in three years. Plaintiffs also request that the

Court order Defendants to participate in a Rule 26(f) conference, as required by the Federal

Rules of Civil Procedure and the Local Rules.



Dated: July 29, 2022                         Respectfully submitted,




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2022, a true and correct copy of the foregoing document

was served via personal messenger service to the following:


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                                                    Ellen V. Leonida
